CM/ECF-GA Northern District Court                                     https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?505540392077373-...
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                                                        1:20-cv-03702-JPB
                                                      Brown et al v. Azar et al
                                                      Honorable J. P. Boulee

                                     Minute Sheet for proceedings held In Open Court on 10/20/2020.


              TIME COURT COMMENCED: 10:15 A.M.
              TIME COURT CONCLUDED: 11:26 A.M.                       COURT REPORTER: Penny Coudriet
              TIME IN COURT: 1:11                                    DEPUTY CLERK: Brittney Walker
              OFFICE LOCATION: Atlanta

         ATTORNEY(S)                Caleb Kruckenberg representing National Apartment Association
         PRESENT:                   Caleb Kruckenberg representing David Krausz
                                    Caleb Kruckenberg representing Jeffrey Rondeau
                                    Caleb Kruckenberg representing Richard Lee Brown
                                    Caleb Kruckenberg representing Sonya Jones
                                    Leslie Vigen representing U.S. Centers For Disease Control and Prevention
                                    Leslie Vigen representing U.S. Department of Health and Human Services
                                    Leslie Vigen representing Alex Azar
                                    Leslie Vigen representing Nina B. Witkofsky
         PROCEEDING
                                    Motion Hearing(PI or TRO Hearing-Evidentiary);
         CATEGORY:
         MOTIONS RULED ON:          [18]Motion for Preliminary Injunction TAKEN UNDER ADVISEMENT


         MINUTE TEXT:               The Court held oral argument on the pending Motion for Preliminary Injunction.
                                    The Court took motion under advisement. Written order to follow.

         HEARING STATUS:            Hearing Concluded




1 of 1                                                                                                              10/20/2020, 12:11 PM
